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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEOROlS. C

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PAMELA SWAIN                    )                           CV620-82, ,
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                                )
vs.                             )
                                )
                                )
HARVEY WEINSTEIN; THE WEINSTEIN )
COMPANY; ANTHONY ROBBINS; ALAN )
DERSHOWITZ; HILLARY CLINTON;    )
CENTRAL INTELLIGENCE AGENCY:    )
DONALD TRUMP JR.; SAMSUNG;      )
STRAIGHT TALK; TWITTER.         )

                                 AMENDED COMPLAINT




       Throughout the past 6 years, these defendants have weaponized everything against the

plaintiff, Pamela Swain as a means of punishment from criminal convict, Harvey Weinstein, who

has used his monetary resources to harass and coerce the defendant into a forced sexual

relationship. After Judge Christopher Ray dismissed the last complaint, the defendant contacted

the plaintiff witli assertions to rape the plaintiff who as of August V\ 2020 to September 2020,

was a federal employee.

                              UPDATE OF HARASSMENT



       Just recently, the plaintiff has traced two separate events of hacking in the last year, April

2020, to CIA internet malfeasance used by Hillary Clinton for the defendant Harvey Weinstein.

The new defendant, Hillary Clinton, is actively helping convicted criminal, Weinstein, in

tracking down the women he has harassed and have accused and slandered to keep those women

unemployable. The plaintiff seeks the court to add Clinton to the defendants and ensure she has
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no influence over government resources for personal use AGAINST OTHER AMERICANS TO

CONDUCT CRIMINAL HARASSMENT AND STALKING. The plaintiff seeks damages and

wishes to add the Central Intelligence Agency.


        The plaintiffreceived notice that South Georgia bank located in Glennville, GA,the

plaintiff’s home town, on October 22,2020, was hacked and personal information taken.


Federal laws broken;




Interstate Stalking
In 1996 Congress passed an anti-stalking law as part of the Violence Against Women Act
(VAWA). Under this law it is a federal felony to cross state lines to stalk or harass an individual
if the conduct causes fear of serious bodily injury or death to the stalking victim or to the victim's
immediate family members. It is a federal felony to stalk or harass on military or U.S. territorial
lands, including Indian country(18 U.S.C. § 2261A).

Georgia law codes in use or violated:

2015 Georgia Code
Title 16 - CRIMES AND OFFENSES
Chapter 11 - OFFENSES AGAINST PUBLIC ORDER AND SAFETY
Article 2 - OFFENSES AGAINST PUBLIC ORDER
§ 16-11-39.1 - Harassing communications.

2010 Georgia Code
TITLE 16 - CRIMES AND OFFENSES
CHAPTER 5 - CRIMES AGAINST THE PERSON
ARTICLE 7 - STALKING
§ 16-5-91 - Aggravated stalking



O.C.G.A. 16-14-9(2010)
16-14-9. Civil remedies as supplemental and not mutually exclusive


O.C.G.A. 16-6-23(2010)
16-6-23. Publication of name or identity offemale raped or assaulted with intent to commit rape
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(a)It shall be unlawful for any news media or any other person to print and publish, broadcast,
televise, or disseminate through any other medium of public dissemination or cause to be printed
and published, broadcast, televised, or disseminated in any newspaper, magazine, periodical, or
other publication published in this state or through any radio or television broadcast originating
in the state the name or identity of any female who may have been raped or upon whom an
assault with intent to commit the offense ofrape may have been made.



                                  UPDATE ON HARASSMENT



        The following actions continue to occur. Harassment on a hate thread on Kiwifarms. The

following people have mentioned that they have illegal influence over the judges and the Justice

department over this case, Hillary Clinton, Alan Dershowitz, Tony Robbins, and Donald Trump

Jr. The plaintiff wishes a gag order be placed on all defendants concerning this civil suit to not

contact the plaintiff in any way,shape, or form. Also, the plaintiff was referred to a position with

the Department of Education as a Education Research Scientist/Analyst(ADI 730-00)to which

she is qualified and has been referred, but it appears the defendant Clinton who incessantly

harasses the plaintiff has undermined the plaintiff’s ability to secure a job position.


       The plaintiff seeks to have Clinton, Dershowitz, Robbins, Weinstein, and Trump Jr.,

convicted of lawless harassment of an American citizen and restricted of any political influence

for the duration oftheir lives.



       The companies. Straight Talk, Samsung, and Twitter need to be sanctioned for their

compliance to abuse the plaintiff for these criminals.


       The plaintiff seeks monetary damages from these people in the amount of 2 million each

from Clinton, Dershowitz, Robbins, Weinstein/The Weinstein Company, and Trump Jr, to ensure

these defendants never do this again.
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                                       T.RGAT.PRECEDENCE



        The plaintiff is petitioning the US District Court for possible criminal actions against the

aforementioned defendants. These defendants have used their political power, celebrity notoriety.

and monetary resources to distort the legal process to explicitly commit, stalking, harassment.

and demand the plaintiff engage in sexual and demeaning acts. The defendants have conducted

themselves as above the Federal laws. They have contacted law enforcement officials, state and

federal judges, and personal family members of what they call, “targets”. They continue to make

outrageous illegal communication without impunity stating its their “Free Speech Rights”. When

the US courts have already decided that in United States vs Hobgood,(2017), United States vs

Ackell,(2017), United States vs Moreland,(2016), and United States vs Osinger,(2014)that

harassment and threatening content were not protected under free speech when used to make

threatening and criminal comments. Therefore the plaintiff is within her rights to demand that the

Kiwi Farms hate thread made on her is a vehicle that these criminals use to make criminal threats


and harassment and should be taken down permanently by the sites administrator.


       This premise is widely used throughout the Trump administration’s conduct and excuse

to uphold their rights to cause direct and indirect acts of violence on individuals and groups

including Congressional members who were attacked January 6,2021. The defendant, Donald

Trump Jr. is also connected to this event conducting himself in a way that uses free speech to

incite violence, harassment, and retaliation.


       The interstate stalking has been upheld in United States vs Humphries(2013) and United

States vs Sayer(2014), where both similar cases to the plaintiff’s case, the judges agreed that the

basic claim for interstate stalking had been provided and the criminals were charged accordingly.
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       However, the one disturbing issue that arises is the evidence of wealthy, political, and

government officials committing crimes down to petty harassment all the way to government

insurrection and then trying to procure their ability to continue said crimes without legal

repercussions by corrupting judges,judicial law, and the court system by means of personal

contact, swaying, monetary means, political party affiliations and popularity. This is an

unfortunate new development that has occurred with the defendants, Clinton, Dershowitz,

Weinstein, Robbins, and Trump Jr. The United States legal system will have to break ground on

new precedents that will have to address such illegal and corrupt behavior from wealthy, political

savvy, and popular defendants. For thus, the balance of fairness and power in the US judicial

court system would be forever damaged.




                                                                     Pamela Swain
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